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          EXHIBIT 21
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                         SOUND RECORDING AND AUDIOVISUAL CONTENT LICENSE

               This Sound Recording and Audiovisual Content License (the “Agreement ) is entered into as of the latest
               of the dates stated in the signature block below (the “Effective Date”) between [FULL LEGAL NAME OF
               PROVIDER], a [STATE] [LLC, Corporation, individual, etc.] with offices located at [PROVIDER
               ADDRESS] (“Provider”) and Google LLC, organized in the state of Delaware, with offices located at
               1600 Amphitheatre Parkway, Mountain View, CA 94043, and Google Ireland Limited and Google
               Commerce Limited, each an entity with registered address at Gordon House, Barrow Street, Dublin 4,
               Ireland (Google LLC, Google Ireland Limited, and Google Commerce Limited are collectively referred to
               in this Agreement as “Google”). This Agreement is comprised of the terms stated in this document
               together with its exhibits and the addendum attached to this Agreement, and all references to this
               Agreement will be interpreted accordingly.

               1.   DEFINITIONS. Unless otherwise defined in this Agreement, capitalized terms will have the meanings
                    stated in the CIMA and Exhibit A attached hereto.

               2.   LICENSE.

                    (a)    Provider Content License. Provider grants to Google a non-exclusive, limited right and license
                           to use, including all rignts necessary for Google to:

                            (i)   host, index, buffer, cache, route, transmit, store, reproduce (including as Conditional
                                  Downloads), synchronize, modify (to the extent necessary to operate or optimize the Google
                                  Services), reformat, excerpt (including for use in connection with the Google Services relating
                                  to or promoting the availability of such content on the Google Services, including e.g. to
                                  create thumbnails, short-form   interstitials, bumpers,   and previews of), and analyze;

                           (ii)   stream, perform, communicate to the public, make available, display, and distribute; and

                          (iii)   create algorithms and improvements to the Google Services based on;

                           any content owned or controlled or claimed (in whole or in part) by Provider embodied within
                           audio-only and audiovisual works (including any metadata relating to such content) distributed via
                           the YouTube Service to users located in the Territory.

                    (b) Art Track Creation and Ownership. Provider authorizes Google to create Provider Art Tracks
                        on Provider's behalf. As between the parties, Provider will own all right, title and interest in and to
                        the Provider Art Tracks (excluding any third party content independently included by Google in
                        Provider Art Tracks), and Provider exclusively licenses such Provider Art Tracks to Google.
                        Provider will have no right to license or distribute Art Tracks to any third parties during the Term
                        or after expiration or termination of the Term. Google will not be required to deliver any Provider
                        Art Tracks or metadata to Provider. Provider licenses all album artwork, cover art, artist images,
                        lyrics, and any other materials provided to Google by Provider for use in connection with Provider
                        Art Tracks. Google may also elect to use in connection with Provider Art Tracks pictorial material
                        not provided to Google by Provider.

                    (c)    Brand Features License. Provider grants to Google a limited, non-exclusive, worldwide, royalty-
                           free right and license to use Provider's Brand Features in connection with the Provider Content
                           licensed under this Agreement, including for use in presentations, marketing or sales materials,
                           financial reports, press releases and customer lists. As between Google and Provider, any
                           goodwill associated with Google’s use of the Provider Brand Features will inure to the benefit of
                           Provider.

                    (d) Artwork/Images License. Without limiting Section 2(a), Provider grants to Google a limited, non-
                        exclusive, worldwide, royalty-free right and license to use (and make minor modifications to) any
                        images, including album artwork, cover art, other artist images and any associated materials


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                          provided or otherwise made available to Google by Provider in connection with the Google
                          Services, including in any advertising or marketing of Google, on its own or with its co-marketing
                          partners. Where such materials are delivered by Provider to Google, Provider will deliver such
                          images and any associated materials to Google in accordance with Google’s then-current image
                          specifications.

                    (e)   Other Product Features. Google and/or its Affiliates may make available certain product
                          features that allow Google, its Affiliates and/or authorized third parties (including users) to create
                          derivative works of content on the Google Services. If Provider elects to enable such feature(s)
                          for Provider Content (as Provider may choose to do in its sole discretion), then, in addition to the
                          rights granted in this Agreement, the license grant in this Agreement is amended to include the
                          right for Google, its Affiliates and/or authorized third parties to use and create derivative works of
                          such Provider Content to the extent necessary to enable such feature.

                    (f)   Reservation of Rights. Except for the licenses granted in this Agreement: (i) as between Google
                          and Provider, all rights, title and interest (including all intellectual property rights) in and to the
                          Provider Content, Provider Brand Features, and associated materials provided to Google by
                          Provider will remain with Provider (in each case, subject to applicable law), and (ii) as between
                          Google and Provider, all rights, title and interest (including all intellectual property rights) in and to
                          the Google Services, related information and files, other Google systems, software and
                          technology will remain with Google (in each case, subject to applicable law). As between Google
                          and Provider, Google has the sole right and decision-making authority with respect to the design,
                          appearance, functionality, hosting, performance, and maintenance of all Google Services. Google
                          is under no obligation to use any of the rights granted to it by Provider in this Agreement. Except
                          as otherwise stated in this Agreement, this Agreement does not affect any right (including any
                          statutory, legal, compulsory or implied right) or defense that any party (or any third party) would
                          have had, or will have, independent of this Agreement, including rights under copyright (including
                          the U.S. Copyright Act), trademark, trade secret, moral rights, privacy rights, rights of publicity, or
                          any other intellectual property or proprietary rights or analogous laws in other jurisdictions. If
                          Google has an independent legal basis for the use of any content claimed by Provider, or
                          licenses any of the same rights granted in this Agreement, or any portion thereof, from a third
                          party, then Google will have no payment obligations to Provider under this Agreement in
                          connection therewith.

                    (g) Sub-license. The rights and licenses granted to Google under this Section 2 may be sub-
                        licensed by Google to any of its Affiliates, and Google may use its Affiliates in performing its
                        obligations under this Agreement. Google will remain directly liable to Provider for a breach of
                        such grant of rights, license, or obligation by any such Affiliate.

               3.   PROVIDER OBLIGATIONS.

                    (a)   User Account and Content Delivery. At all times during the Term, Provider will maintain a
                          YouTube user account(s) with which Provider Content will be associated and will deliver to
                          Google the Entire Catalog (including accompanying metadata, album artwork, assets required to
                          create Provider Art Tracks and, if available, artist images) and, in Provider's discretion, Provider
                          Non-Music Content, in each case, for each country in the Territory, in accordance with Section 2
                          of Exhibit C, and as follows:

                           (i)   in all formats in which the content was produced (e.g., 4K, 360);

                          (ii)   in, ata minimum, the audio and/or audiovisual quality stated in the Google Specs, and if
                                 Provider delivers to any other of Provider's licensees any Provider Content of a higher quality
                                 than required in the Google Specs, Provider will deliver such higher quality Provider Content
                                 to Google; and




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                      (iii)   no later than, on a country by country basis, the date and time that each sound recording
                              and/or music video in the Entire Catalog is released or distributed to the public in any format
                              or on any medium (i.e., date and time with the earlier of physical release, or digital
                              distribution).

                   (b) Catalog Commitment.

                        (i)   Availability on the Google Services.

                              (A) AVOD Service. Subject to Section 3(b)(ii), at all times during the Term, Provider will make
                                  available (and set a policy of Monetize in the System) all Provider Music Videos on the
                                  AVOD Service, no later than the date and time that each such music video (including in
                                  each format) is first made available on a Similar Free Service. For clarity, Provider has no
                                  obligation to make available Provider Sound Recordings, Provider Art Tracks, or Provider
                                  Non-Music Content on the AVOD Service (and may, in its sole discretion, set a policy of
                                  Monetize, Track, or Block in the System for such content on the AVOD Service in each
                                  country of the Territory).

                              (B) Subscription Offerings. Subject to Section 3(b)(ii), at all times during the Term, Provider
                                  will make available (and set a policy of Monetize in the System) the Entire Catalog in the
                                  Subscription Offerings, no later than the date and time that each      Provider Sound
                                  Recording and Provider Music Video (including in each format) is first made available on
                                  any tier of any digital distribution partner or platform in the applicable country. For clarity,
                                  Provider has no obligation to make available Provider Non-Music Content in the
                                  Subscription Offerings.

                       (ii)   Withholding Rights. Provider may:

                              (A) hold back or initiate removal of Provider Content affected by a Bona Fide Artist Issue or a
                                  Legal Issue from the YouTube Service in the affected country(ies) in the Territory as
                                  follows:

                                  (1) for Provider Videos, Provider Art Tracks and Provider Audio-Only Tracks, by means
                                      of the System or by providing updates to Google in the Metadata Feed; and

                                  (2) for User Videos containing Provider Content, by means of Google’s standard process
                                      for removal of such videos (subject to Google's applicable policies).

                              (B) exclude a reasonable number of Limited Exclusives as follows:

                                  (1) from the AVOD Service, Provider Music Videos; and

                                  (2) from the Subscription Offerings, Provider Music Videos and Provider Sound
                                      Recordings.

                       Provider acknowledges and agrees that withheld content may impact the applicable AVOD
                       Service Percentage Rate.

                      (iii)   Identify withheld content. As soon as possible after delivery, Provider will identify, via the
                              Metadata Feed or other mutually agreed methods, all Provider Sound Recordings and
                              Provider Videos withheld under Sections 3(b)(i) and 3(b)(ii) above.

                      (iv)    Minimize Content Withheld. Provider will not itself or through a third party take or encourage
                              any actions that frustrate the purpose of the catalog commitment, which is to maximize the
                              amount of Provider Content available on the YouTube Service. For example, Provider will not
                              precipitate any Bona Fide Artist Issues and will work in good faith to minimize the amount of


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                               content blocked as a result of any Bona Fide Artist Issues. Provider will offer Google
                               exclusive offers that are comparable to the Limited Exclusives, and the quantity and duration
                               of any Limited Exclusives on other platforms will not frustrate the intent of this Agreement.

                   (c) Third-Party Clearances. Provider will be responsible for procuring and paying for all necessary
                       rights, licenses and clearances, including any required payments to recording artists, directors,
                       actors, producers, composition rights holders, unions, guilds, collective bargaining associations,
                       performers’ societies, and all other rights holders and royalty participants associated with
                       Google's authorized exploitations of the Provider Content; except that Provider will not be
                       responsible for obtaining the rights that Google is responsible for obtaining as stated in Section
                       4(a). Notwithstanding anything to the contrary in this Agreement, Provider will clear any
                       synchronization rights with respect to compositions and all rights with respect to lyrics embodied
                       in both Provider Music Videos and Provider Music Videos in User Videos worldwide. If Google is
                       required to make payment to any performers’ society, collective, union, or any party covered as a
                       Provider obligation under this Section 3(c), Google will have the right to deduct payments made
                       to such parties from amounts otherwise due to Provider under this Agreement.

                   (d)   Provider Data. Provider will provide Google with the accurate and complete metadata required
                         by Google’s then-current data specification via the Metadata Feed or other Google-provided
                         interface along with every delivery of Provider Content, with updates to be provided promptly as
                         necessary, for Google to fulfill its calculation, payment, geo-filtering and reporting obligations in
                         this Agreement (as well as, in Google’s discretion, under any other agreements between the
                         parties), as well as to create algorithms based on Provider Content for search functionality and
                         content identification and for other uses for Google’s business purposes. Such metadata will
                         include ISRC (for each country in which it is used), title, artist name, territorial restrictions, and, to
                         the extent available to Provider, publisher data (including ownership splits), ISWC, ISNI,
                         songwriter data, and timed-lyric data. Subject to Sections 3(b), Provider may use the Metadata
                         Feed to Block or restrict Provider Content, and such Blocking or restricting of Provider Content
                         will be solely Provider's responsibility. Google will have the right to rely on the metadata delivered
                         by Provider to Google with respect to ownership or rights information. If there are any conflicts
                         between (i) the Metadata Feed, or any metadata or rules indicated by Provider in the System, and
                         (ii) any terms in this Agreement, the information in subsection (i) will control.

                   (e)   Claims and Disputes. Google may establish policies and processes with respect to Provider
                         claims and removals, including with respect to disputes, and Provider will comply with such
                         policies and processes. If a third party provides Google with a claim of ownership of any material
                         contained within Provider Content, then (i) the usage policy and/or match policy on such Provider
                         Content may be altered (e.g., Provider Content may be Blocked from the YouTube Service), and
                         (ii) if Provider disputes the third party claim, Provider will participate in a procedure, in accordance
                         with Google’s policies, to resolve the dispute. If, during the course of evaluating whether Provider
                         has rights to specific content, Provider reviews content designated as private by the user,
                         Provider will not disclose the content to any third party except as necessary for this process or a
                         judicial proceeding.

                   (f)   Pillar Abuse Review.

                         (i)   Provider will not itself or through a third party take or encourage any actions that frustrate the
                               purpose of the Pillars, which is to incentivize Provider to comply with the operational best
                               practices stated in Exhibit C, including taking any actions in bad faith solely for the purpose of
                               meeting the requirements stated in Exhibit C to achieve or remain in a higher tier (e.g.
                               precipitating Bona Fide Artist Issues and/or Legal Issues to withhold content from the
                               YouTube Services while maintaining compliance with the Tier A content commitment
                               requirements; not delivering content as required or timing delivery to impact a Pillar; claiming
                               Provider Music Videos as Provider Non-Music Content; relying on an email address that is
                               shared widely across many users; posting inconsequential comments).



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                            (ii)   If Google reasonably believes that Provider has itself or through a third party taken or
                                   encouraged an action described in Section 3(f)({i) above, Google will notify Provider and
                                   Provider will participate in a discussion with Google to review Provider's compliance with its
                                   obligations under Section 3(f)(i) above.

                           (iii)   If, following the review, the parties agree with Google’s assessment,   then Provider will, within
                                   five (5) business days, provide to Google a plan of action (which Provider will, upon Google’s
                                   request, promptly revise until deemed satisfactory by Google), detailing how Provider will
                                   adjust its business practices to not frustrate the purpose of this Agreement (and, if applicable,
                                   Provider will receive the Tier C Percentage Rates until the next Pillar Review).

                          (iv)     If, following the review, Provider demonstrates that it was not taking such an action, then
                                   Provider may continue with its current business practices (and, if applicable, Provider will
                                   receive the applicable Percentage Rate).

                           (v)     If, following the review, the parties continue to disagree, then the dispute will immediately be
                                   escalated to YouTube’s Global Director of Music Partnerships and Provider's CEO.

                          (vi)     If the parties are unable, within ten (10) business days of the escalation, to come to an
                                   agreement, then Google may adjust Provider's tier status, and therefore the applicable
                                   Percentage Rate(s) that Provider receives, to coincide with Google’s reasonable, good faith
                                   assessment of Provider’s actions.

                          (vii)    The review process described in Sections 3(f)(i) to 3(f)(vi) above does not affect any other
                                   remedy under this Agreement or any other right (including any statutory, legal, compulsory or
                                   implied right) or defense that either party would have had, or will have.

               4.   GOOGLE           OBLIGATIONS.

                    (a) Third-Party Clearances. The licenses and authorizations granted by Provider in this Agreement
                        include all rights necessary for the exploitation of Provider Content on the Google Services in the
                        Territory, except that, as between Provider and Google, with respect to musical compositions
                        embodied in Provider Music Videos, Provider Art Tracks, and Provider Audio-Only Tracks (and
                        any User Videos containing any of the foregoing), Google will be responsible for obtaining
                        licenses for any Performing Right and reproduction right throughout the Territory that are
                        necessary for the exploitation of such content on the YouTube Service in each country of the
                        Territory.

                    (b) Territory Restrictions. Provider may specify, in the Metadata Feed or other Google interface
                        provided for such purpose, the countries in which Google may make available Provider Content
                        which will be all countries where Provider owns or controls the Provider Content. Google will use
                        commercially reasonable efforts (e.g., by using IP address) to restrict access to playback of
                        Provider Content to users located in the countries in the Territory identified by Provider. Google
                        does not guarantee that its efforts to limit or prevent such access will be effective in every
                        instance. With respect to Subscription Offerings (including for the purposes of determining
                        content availability and/or for royalty calculation and reporting purposes), user location may be
                        deemed identified by reference to the users home country, which may be verified by reference to
                        the user's billing address (e.g., if the user is traveling).

               5.   OTHER FEATURES,              CONTENT     IDENTIFICATION, AND OTHER SERVICES AND AGREEMENTS.

                    (a)     Live Streams. Streams of Provider Content by Provider in real time via the Google Services (i.e.,
                            so-called “live streams”) will be subject to terms provided by Google for the applicable Google
                            Service (which may be made available to Provider via the applicable Google Service). With
                            respect to any conflict between this Agreement and such terms, such terms will control in
                            connection with the applicable “live stream”.


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                   (b) Other Opt-In Features. If Google makes available any opt-in features that are subject to
                       additional or separate terms, and Provider chooses, in its sole discretion, to opt-in to any such
                       feature(s), Provider’s use of such feature(s) will be subject to such terms. With respect to any
                       otherwise irreconcilable conflict between this Agreement and such terms, such terms will control
                       in connection with such feature.

                   (c)    Provider Channel and Playback Page. Subject to Provider's compliance with the terms of this
                          Agreement and the YouTube Service’s then-current terms of service, Google may make available
                          to Provider a Playback Page for Provider Content and a Provider Channel on which Provider may
                          prominently display the Provider Brand Features and a collection of Provider Content. Google has
                          sole discretion over the style and format of the Playback Pages on the Google Services, which
                          may be revised or modified by Google from time to time.

                   (d) Content Display. Google has no obligation to host or display any Provider Content (or portion
                       thereof).

                   (e)     CIMA and Content Identification. The availability of the System is subject to the terms of the
                           CIMA. Provider authorizes Google during the Term of the CIMA to use Provider Content for audio
                           identification purposes in connection with any Google Services, including as stated in the CIMA.

                   (f)    Cross Authentication. If Google offers another music subscription service, then, at Google’s
                          discretion, subscribers to the other Google music subscription service may access the
                          Subscription Offerings and vice versa at no additional cost to Google. Additionally, if Google
                          offers a site-wide Subscription Offering that includes Provider Content, then, at Google’s
                          discretion, subscribers to such Subscription Offering may access all other Subscription Offerings
                          at no additional cost to Google. No person will be counted as both a Subscription Offering user
                          and a user of the other Google music subscription service (i.e., subscribers will not be double
                          counted).

                   (g) Service Combination. Provider acknowledges that Google is in the process of combining the
                       services licensed under the Google Play Agreements and music portion of the YouTube Service,
                       and Provider agrees to the following with respect to such combination, notwithstanding anything
                       to the contrary in this Agreement or in the Google Play Agreements:

                           (i)   the terms of the Google Play Agreements will continue to apply to such services licensed
                                 under the Google Play Agreements, except as otherwise stated in this Agreement;

                          (ii)   Google may use Provider's feeds (of data, audio and other assets) provided under the
                                 Google Play Agreements under this Agreement in accordance with the terms of this
                                 Agreement. Without limiting the foregoing, Google may transfer assets from the Google Play
                                 servers to the YouTube servers and any sound recordings and images provided under the
                                 Google Play Agreements, upon the transfer of such data from the Google Play Music servers
                                 to the YouTube servers, will be deemed authorized for the creation of art tracks under this
                                 Agreement;

                         (iii)   the Google Play services may be branded with YouTube or other Google-owned or controlled
                                 branding); and

                         (iv)    if Google chooses to migrate users from the Google Play subscription service to a
                                 Subscription Offering, the terms applicable to such users from the date on which the
                                 migration is complete will be this Agreement and not the applicable Google Play
                                 Agreement(s).

                   (h) Conflicts. If Provider has a Content Hosting Services Agreement or Content License Agreement
                       with Google, then, notwithstanding anything to the contrary in such Content Hosting Services


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                          Agreement or Content License Agreement this Agreement will apply to content associated with
                          Providers content owner corresponding to this Agreement, and the Content Hosting Services
                          Agreement or Content License Agreement, as applicable, will apply to content associated with
                          Provider's content owner corresponding to such Content Hosting Services Agreement or Content
                          License Agreement, as applicable. If any provision of content to Google by Provider under this
                          Agreement is subject to any of Provider’s terms and conditions (or the terms and conditions of a
                          contractor of Provider) other than those stated in this Agreement (e.g., terms and conditions on a
                          website on which such content is hosted), the terms of this Agreement will supersede all such
                          other terms and conditions in their entirety.

               6.   PAYMENTS,       TAXES,   REPORTING.

                    (a)   Royalties. Subject to the terms of this Agreement, Google will pay to Provider the royalties
                          (‘Royalties’) stated in Exhibits B-D.

                    (b) Advertising. Provider acknowledges and agrees that Google may serve advertising on the
                        YouTube Service, including the display of ads on the Playback Pages and within the YouTube
                        video player, in conjunction with the display or playback of Provider Content. Google has sole
                        discretion over the style, format and frequency of the ads, which may be modified by Google from
                        time to time. Provider will not include any advertisements, promotions, or sponsorships as part of
                        the Provider Content, including metadata. Provider may include product placement in the body of
                        Provider Music Videos, subject to applicable law and Google’s applicable policies. Google
                        reserves the right to remove from display to users any Provider Content containing: (i) any
                        promotions, sponsorships or other advertisements (other than product placements); or (ii) product
                        placements which do not comply with Google’s applicable policies. Additionally, Google may elect
                        not to serve some or all advertisements in connection with any Provider Content containing
                        product placements. Google may automatically place (A) buy buttons from vendors approved by
                        Google against Provider Content and (B) Provider branding and links on claimed User Videos
                        and other audiovisual content (in addition to Provider Videos) if Provider provides Google with the
                        data necessary for such matching and placement. Google may give Provider the opportunity to
                        provide input with respect to the selection and placement of such buy buttons. However, Google
                        will retain final control over all aspects of buy buttons on the Google Services and no payment or
                        reporting will be due in connection therewith. Provider acknowledges that due to technical or
                        policy limitations, in some cases the type and frequency of advertising may be limited. By way of
                        example, in some cases advertisements may be limited to only those sold or provided by Google
                        and/or its Affiliates.

                    (c)   Payment Terms. Google will pay to Provider the Royalties owed under this Agreement within
                          approximately sixty (60) days after the end of each calendar month of the Term if: (i) Provider’s
                          earned balance is at least $100 (or its equivalent in local currency) at the time payment is due; (ii)
                          Provider has an active AdSense account that is in good standing associated with Provider’s
                          YouTube user account(s) or such other type of payment account as required by Google in the
                          future; and (iii) Provider provides any additional information reasonably required by Google to
                          process payment, including accurate contact information and tax identification numbers and
                          forms. Any bank fees related to returned or cancelled checks due to a contact or payment
                          information error or omission may be deducted from the newly issued payment. All payments
                          made under this Agreement are subject to the limitations and deductions stated in this
                          Agreement. Except as stated in this Agreement, Provider is not entitled to any share of revenues
                          derived from the Google Services, including any revenues derived from advertisements that may
                          appear on any search results pages or the YouTube Service homepage. The number of queries,
                          impressions of and clicks on ads, as reported by Google to the applicable advertiser, will be the
                          number used in calculating payments under this Agreement. Payments to Provider will be made
                          in the manner that Provider indicates to Google from Google’s available payment methods (e.g.,
                          wire, EFT).




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                   (d)   Miscellaneous Payment Information. Google may create            an account for Provider, where
                         Provider will be able to access information about advertising     revenue payments to Provider under
                         this Agreement. Provider understands and agrees that this       account is made available to Provider
                         for this purpose only, and that the account may not be used      for any other purpose unless
                         expressly agreed to in writing by Provider and Google.

                   (e)   Prohibited Acts. Provider will not engage in any unauthorized activities relating to the Google
                         Services. Without limiting the foregoing, Provider will not (and will not authorize or encourage any
                         third party to) directly or indirectly:

                          (i)   generate queries, impressions of or clicks on any ad(s); or

                         (ii)   obtain access to Provider Content

                         through any automated, deceptive, fraudulent or other invalid means, including repeated manual
                         clicks, the use of robots or other automated query tools, computer generated search requests,
                         and the fraudulent use of other search engine optimization services or software. Google reserves
                         the right to investigate any activity that may violate this Agreement, and Provider will cooperate
                         with Google in any investigation of suspected violative activities. Further, if Provider is in breach
                         of this Agreement, in addition to any other rights or remedies in this Agreement (and regardless of
                         and without limiting the CIMA), Google reserves the right to restrict Provider’s access, in whole or
                         in part, to the System.

                   (f)   Taxes. As between the parties, Google will be responsible for any taxes relating to payments it
                         makes under or related to this Agreement other than taxes based on Provider's income. Provider
                         will be responsible for any taxes relating to payments it makes to third parties related to this
                         Agreement.

                   (g) Currency. For purposes of calculating payments, the U.S. dollar equivalent of local currency in
                       the applicable country(ies) will be measured at the interbank rate of exchange between the U.S.
                       dollar and the local currency, as determined by an internationally-recognized exchange rate
                       source chosen in Google’s discretion using the average daily exchange rate for the applicable
                       accounting period.

                   (h)    Payment Limitations & Deductions. In addition to Google’s rights under Section 3(f) above,
                          Google may suspend or deduct payments as follows:

                          (i)   Google will not be liable for (and reserves the right to withhold payment or charge back
                                Provider's account or demand a refund from Provider for) any payment based on (A)
                                amounts resulting from Provider’s breach of Sections 3, 6(e) and 7, and further may
                                temporarily suspend or chargeback Provider for such amounts; (B) any amounts which result
                                from invalid queries, invalid views/watchtime or invalid clicks on ads, generated by any
                                person, bot, automated program or similar device, including, through any views/watchtime,
                                clicks or impressions; (1) originating from Provider's IP addresses or computers under
                                Provider's control, or (2) solicited by payment of money, false representation or request for
                                users to click on ads; (C) ads delivered to users whose browsers have JavaScript disabled
                                (as long as Google does not retain revenue from such ads); or (D) clicks co-mingled with a
                                significant number of invalid clicks described in (B) above. Google reserves the right to
                                withhold payment of (or exclude from the royalty calculations) amounts due as a result of any
                                of the foregoing, pending Google’s reasonable investigation, and Provider agrees to
                                cooperate with Google in its investigation of any of the foregoing. In addition, Google will not
                                be liable for (and reserves the right to withhold payment or charge back Provider’s account or
                                demand a refund from Provider for) any payment based on Google advertisements for its
                                own products and/or services;




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                           (ii)   ifathird party provides Google with a claim of ownership of any material contained within
                                  Provider Content, Google may temporarily suspend any payments accruing to Provider in
                                  connection therewith while Google investigates the claim. If such dispute is not resolved in
                                  Provider's favor, Google may cancel such payments altogether;

                          (iii)   Google may net out the following from revenues under this Agreement: refunds, taxes,
                                  chargebacks, declined payments or any fees payable to platform, device or other distribution
                                  partners in connection with Subscription Offering transactions, including any carriage or
                                  (subject to Section 8 of Exhibit B) in-app commission fees; and

                          (iv)    Google may withhold or deduct any taxes of whatever kind required by law or any local or
                                  governmental taxing authority with respect to the payments or revenues under this
                                  Agreement. Provider and Google are each solely responsible for any taxes required by law or
                                  related to any income earned in connection with this Agreement.

                    (i)    Reporting. Google will use commercially reasonable efforts to provide Provider with usage
                           reports in the form generally made available to then-current similarly-situated Google partners
                           within sixty (60) days of the end of each calendar month in which Provider’s earned balance is at
                           least $100 (or its equivalent in local currency) at the time such report is due. Such reports will
                           contain, at a minimum, for the AVOD Service and the Subscription Offerings on a per video basis
                           for all Provider Content (i) the total views and revenue generated for that month; (ii) the daily
                           views generated; and (iii) the total views generated on a territory-by-territory basis.
                           Notwithstanding the foregoing, with respect to Subscription Offerings, Google may: (x) replace
                           views with watchtime in such reports; and (y) exclude views that do not meet the durational
                           threshold described in Section 4 of Exhibit B from such reports.

               7.   REPRESENTATIONS AND WARRANTIES. Each party represents and warrants that it has full power
                    and authority to enter into this Agreement and that upon execution and delivery hereof, this
                    Agreement will constitute the valid and binding obligations of the party. Provider represents and
                    warrants that: (a) it has and will maintain throughout the Term all rights, authorizations and licenses
                    that are required for it to (i) fully perform its obligations in this Agreement, (ii) grant the rights and
                    licenses granted in this Agreement, including with respect to all of the content, data or other materials
                    made available or claimed by Provider under this Agreement, to permit Google to exploit the content,
                    data and other materials (including the Provider Content and Brand Features) as contemplated in this
                    Agreement, and (iii) designate the Policies; (b) all data provided by Provider under this Agreement will
                    be accurate and complete; and (c) Google’s authorized use of the Provider Content and Provider's
                    Brand Features does not infringe any third party right, including rights arising from contracts between
                    Provider and third parties, copyright, trademark, trade secret, moral rights, privacy rights, rights of
                    publicity, or any other intellectual property or proprietary rights.

               8.   DISCLAIMERS. TO THE MAXIMUM EXTENT PERMITTED BY LAW, GOOGLE AND PROVIDER
                    MAKE NO WARRANTIES OTHER THAN THE EXPRESS WARRANTIES STATED IN THIS
                    AGREEMENT. GOOGLE AND PROVIDER DISCLAIM ALL OTHER WARRANTIES, EXPRESS OR
                    IMPLIED, INCLUDING (A) IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FORA
                    PARTICULAR PURPOSE (B) WARRANTIES AS TO THE QUALITY OR PERFORMANCE OF THE
                    MATERIALS, INFORMATION, GOODS, SERVICES, TECHNOLOGY OR CONTENT PROVIDED
                    UNDER OR IN CONNECTION WITH THIS AGREEMENT, INCLUDING THE DELIVERY OR
                    AVAILABILITY OF ANY ADVERTISEMENTS, AND ANY LIMITATIONS ON USER ACCESS TO OR
                    USE OF CONTENT; AND (C) WARRANTIES AS TO THE PERFORMANCE OF COMPUTERS,
                    TECHNOLOGY, NETWORKS OR ADS (INCLUDING ALL WARRANTIES REGARDING
                    POSITIONING, LEVELS, QUALITY OR TIMING OF (1) AVAILABILITY AND DELIVERY OF ANY
                    IMPRESSIONS, CREATIVE, OR TARGETS; (Il) CONVERSIONS OR OTHER RESULTS FOR ANY
                    ADS OR TARGETS; (Ill) THE ACCURACY OF ANY DATA PROVIDED BY GOOGLE OR ITS
                    AFFILIATES (E.G., REACH, SIZE OF AUDIENCE, DEMOGRAPHICS OR OTHER PURPORTED
                    CHARACTERISTICS OF AUDIENCE); AND (IV) THE ADJACENCY OR PLACEMENT OF ADS). TO
                    THE MAXIMUM EXTENT PERMITTED BY LAW, GOOGLE MAKES NO WARRANTY THAT


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                    GOOGLE SERVICES WILL BE UNINTERRUPTED, TIMELY OR ERROR-FREE OR THAT THE
                    RESULTS OR INFORMATION OBTAINED FROM USE OF GOOGLE SERVICES WILL BE
                    ACCURATE OR RELIABLE.

               9.   INDEMNIFICATION.

                    (a)    Obligations. Subject to Section 9(c):

                           (i)   Google’s Obligations. Google will defend Provider and its Affiliates, and indemnify them
                                 against Indemnified Liabilities relating to any allegation or Third-Party Legal Proceeding to
                                 the extent based upon or otherwise arising from any third-party claim that Provider's
                                 authorized use of any Google Brand Features or Google’s technology used to provide the
                                 Google Services infringes any United States trademark, copyright or trade secret of such
                                 third party. In no event will Google have any obligations or liability under this Section 9(a)(i)
                                 arising from any content, technology, information or data provided or made available to
                                 Google by Provider, users, or any third parties.

                          (ii)   Provider's Obligations. Provider will defend Google and its Affiliates, and indemnify them
                                 against Indemnified Liabilities relating to any allegation or Third-Party Legal Proceeding to
                                 the extent based upon or otherwise arising from any third-party claim: (A) relating to Google’s
                                 authorized use of any Provider Content, Provider’s Brand Features, or any other content or
                                 materials made available or claimed by Provider under this Agreement (including with respect
                                 to rights Provider is required to clear under this Agreement); (B) alleging facts that would
                                 constitute a breach of Provider’s representations and warranties in this Agreement; (C) that
                                 the Provider Content contains content that is defamatory, obscene, or otherwise illegal;
                                 (D) relating to breaches of Sections 6(e) or 12(d) by Provider; or (E) that a Provider Channel
                                 or Provider Content violates or encourages violation of any applicable laws or the then-
                                 current YouTube Service community guidelines. Google syndication partners will be deemed
                                 third party beneficiaries of this indemnity.

                    (b)   Exclusions. This Section 9 will not apply to the extent the underlying allegation arises from: (i)
                          the indemnified party's breach of this Agreement; (ii) modification to the indemnifying party’s
                          technology by anyone other than the indemnifying party; (iii} combination of the indemnifying
                          party's technology with materials not provided by the indemnifying party; (iv) failure to use the
                          most current, supported version of the indemnifying party's technology provided under this
                          Agreement; or (v) the indemnifying party's technology’s compliance with the indemnified party's
                          design or request for customized features.

                    (c)    Conditions. Section 9(a) above is conditioned on the following:

                           (i)   the indemnified party must promptly notify the indemnifying party of the allegation, or any
                                 allegation(s) that preceded the Third-Party Legal Proceeding, and cooperate reasonably with
                                 the indemnifying party to resolve the allegation(s) and Third-Party Legal Proceeding. If a
                                 breach of this Section 9(c)(i) prejudices the defense of the Third-Party Legal Proceeding, the
                                 indemnifying party's obligations under this Section 9 will be reduced in proportion to the
                                 prejudice; and

                          (ii)   the indemnified party must tender sole control of the indemnified portion of the Third-Party
                                 Legal Proceeding to the indemnifying party, subject to the following: (A) the indemnified party
                                 may appoint its own non-controlling counsel, at its own expense; and (B) any settlement
                                 requiring the indemnified party to admit liability, pay money, or take (or refrain from taking)
                                 any action, will require the indemnified party’s prior written consent, not to be unreasonably
                                 withheld, conditioned, or delayed.

               10. LIMITATION OF LIABILITY. TO THE MAXIMUM EXTENT PERMITTED BY LAW, EXCEPT FOR (A)
                   AMOUNTS PAYABLE PURSUANT TO THE PARTIES’ INDEMNIFICATION OBLIGATIONS UNDER


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                   SECTION 9, (B) PAYMENT OBLIGATIONS UNDER SECTION 6, AND (C) BREACHES OF
                   CONFIDENTIALITY UNDER SECTION 12(D): (1) NEITHER PARTY HERETO WILL BE LIABLE TO
                   THE OTHER FOR INDIRECT, INCIDENTAL, LIQUIDATED, SPECIAL, PUNITIVE OR EXEMPLARY
                   DAMAGES OR PENALTIES, INCLUDING LOSSES OF BUSINESS, REVENUE OR ANTICIPATED
                   PROFITS; AND (Il) INNO EVENT WILL EITHER PARTY’S TOTAL AGGREGATE LIABILITY FOR
                   ANY AND ALL CAUSES OF ACTION ARISING OUT OF OR RELATED TO THIS AGREEMENT
                   EXCEED THE NET AMOUNT SUCH PARTY HAS ACTUALLY RECEIVED AND RETAINED (AFTER
                   ACCOUNTING FOR ALL DEDUCTIONS, AND OTHER OFFSETS PROVIDED FOR UNDER THIS
                   AGREEMENT) UNDER THIS AGREEMENT DURING THE SIX (6) MONTHS IMMEDIATELY
                   PRECEDING THE DATE ON WHICH SUCH CLAIM ARISES. TO THE MAXIMUM EXTENT
                   PERMITTED BY LAW, THE LIMITATIONS OF LIABILITY STATED IN THIS SECTION 10 WILL
                   APPLY REGARDLESS OF THE CAUSE OF ACTION UNDER WHICH SUCH DAMAGES ARE
                   SOUGHT, WHETHER FOR BREACH OF CONTRACT, NEGLIGENCE, STRICT LIABILITY, OR
                   OTHER TORT, WHETHER OR NOT THE PARTIES WERE OR SHOULD HAVE BEEN AWARE OR
                   ADVISED OF THE POSSIBILITY OF SUCH DAMAGE, AND REGARDLESS OF WHETHER ANY
                   REMEDY FAILS OF ITS ESSENTIAL PURPOSE. THE LIMITATIONS OF LIABILITY STATED IN
                   THIS SECTION APPLICABLE TO “GOOGLE” WILL APPLY IN THE AGGREGATE TO GOOGLE
                   LLC, GOOGLE IRELAND LIMITED, GOOGLE COMMERCE LIMITED, AND ALPHABET INC. THE
                   PARTIES AGREE THAT THE MUTUAL AGREEMENTS MADE IN THIS SECTION REFLECT A
                   REASONABLE ALLOCATION OF RISK, AND THAT EACH PARTY WOULD NOT ENTER INTO
                   THIS AGREEMENT WITHOUT THESE LIMITATIONS ON LIABILITY. TO THE MAXIMUM EXTENT
                   PERMITTED BY APPLICABLE LAW, NOTWITHSTANDING ANYTHING TO CONTRARY
                   CONTAINED IN THIS AGREEMENT, WHERE APPLICABLE LAWS OR REGULATIONS SET OUT
                   ANY LIMIT OR CAP ON LIABILITY WHICH RESULTS IN AN AMOUNT LESSER THAN THE TOTAL
                   AGGREGATE LIABILITY AS PROVIDED IN THIS SECTION 10, SUCH LESSER AMOUNT WILL
                   APPLY.

               11. TERM AND TERMINATION.

                   (a) Term. This Agreement will commence on the Effective Date and, unless terminated earlier under
                       Section 11(b) below, will continue until the end of the calendar month that is three (3) years after
                       the Effective Date (the “Initial Term’), after which this Agreement will automatically renew for
                       additional one (1) year periods (each a “Renewal Term’), unless either party provides sixty (60)
                       days’ written notice of termination before the end of the Initial Term or a Renewal Term as the
                       case may be (the Initial Term and, if applicable, Renewal Terms, collectively, the “Term’).

                   (b) Termination.

                        (i)   Either party may terminate this Agreement: (A) immediately upon written notice to the other
                              party if (1) the other party files a petition for bankruptcy, becomes insolvent, or makes an
                              assignment for the benefit of its creditors, or a receiver is appointed for the other party or its
                              business, or (2) the other party breaches Section 12(d) of this Agreement (Confidentiality); or
                              (B) with thirty (80) days’ prior written notice for any other breach, if such breach is not cured
                              within the notice period.

                       (ii)   Google may terminate this Agreement: (A) immediately upon written notice to Provider if
                              Provider breaches its representations and warranties in Section 7 of this Agreement or if
                              Google or its Affiliates reasonably determine that it is impracticable to continue providing all
                              or part of the YouTube Service in light of applicable law; (B) for any or no reason upon sixty
                              (60) days’ prior written notice. In addition, Google may terminate this Agreement and/or
                              suspend Provider's AdSense account if Provider breaches Section 6(e) of this Agreement.

                      (iii)   If, for any given Pillar Review, Provider reasonably believes that it meets a more favorable
                              tier status than the tier status determined by Google, then Provider may, within five (5)
                              business days of such Pillar Review, notify Google and Google will use commercially
                              reasonable efforts to provide, within twenty (20) business days of Provider’s notice, any


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                             additional information available to demonstrate how it determined Providers tier status. If by
                             the end of such period Google has not adjusted Provider’s then-current tier status to align
                             with Provider’s assessment and Provider continues to reasonably believe that it meets a
                             more favorable tier status, then Provider may, within five (5) business days, provide Google a
                             termination notice and this Agreement will terminate thirty (30) days following Google’s
                             receipt of such notice.

                   (c)   Content Removal. Upon expiration or termination of this Agreement, Provider will be
                         responsible for removing the Provider Content by means of its YouTube user account or such
                         other means as provided by Google, and Conditional Downloads may be accessible to users who
                         have made such Conditional Downloads before the expiration or termination of this Agreement,
                         for up to thirty-one (31) days post termination or expiration of this Agreement. If Provider has a
                         surviving CIMA, all of Provider’s claims within the System may be set to Track (and Provider may
                         choose to change the match policy to Block). If Provider does not have a surviving CIMA, all of
                         Provider's claims within the System may be released (inclusive of Provider claims relating to
                         content set to Monetized). Upon expiration or termination of this Agreement, Provider Content
                         that has not been removed and any further use by Provider of the YouTube Website will be
                         governed by the YouTube Terms of Service and otherwise subject to any applicable YouTube
                         policies (e.g., YouTube may elect to remove any such Provider Content), as may be updated
                         from time to time. Google will have the right to remove any Provider Content at any time upon
                         expiration or termination of this Agreement, and Provider acknowledges and agrees that removal
                         of Provider Content may result in the removal of all comments and view counts related to such
                         content.

               12. GENERAL.

                   (a) Assignment. Neither party may assign or transfer any of its rights or delegate any of its
                       obligations under this Agreement, except as expressly stated in this Agreement, without the prior
                       written consent of the other party, which will not unreasonably be withheld; provided, however,
                       that Google may assign this Agreement, in whole or in part, without consent to an Affiliate but
                       only if (i) the assignee agrees in writing to be bound by the terms of this Agreement and (ii) the
                       assigning party remains liable for obligations under this Agreement. Any attempted assignment,
                       delegation or transfer in derogation hereof will be null and void. This Agreement will be binding
                       upon the successors and permitted assigns of both parties.

                   (b)   Notices. All notices of termination or breach must be in English, in writing and addressed to the
                         other party’s Legal Department with a copy to the party’s primary contact. Such notices sent to
                         Google will be sent via email to legal-notices@google.com and music-partner-
                         support@youtube.com. Such notices sent to Provider will be sent to Provider's Legal Department
                         and primary contact at the address listed in the preamble or via email. Except as otherwise stated
                         in this Agreement, all other notices must be in English, in writing and addressed to the other
                         party’s primary contact. Such notices sent to Google will be sent via email to music-partner-
                         support@youtube.com. Such notices sent to Provider will be sent to Provider's primary contact at
                         the address listed in the preamble or via email. Notice will be treated as given on receipt, as
                         verified by written or automated receipt or by electronic log (as applicable).

                   (c)   Change of Control. If a party experiences a change of control (for example, through a stock
                         purchase or sale, merger, or other form of corporate transaction): (a) that party will give written
                         notice to the other party within thirty (30) days after the change of control; and (b) the other party
                         may immediately terminate this Agreement any time between the change of control and thirty (30)
                         days after it receives that written notice.

                   (d) Confidentiality. The recipient of Confidential Information will not disclose it, except to Affiliates,
                       employees, agents or professional advisors who need to know it and who have agreed in writing
                       (or in the case of professional advisors are otherwise bound) to keep it confidential. Further,
                       Google may make certain limited disclosures of Provider's Confidential Information to effectuate


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                         the purposes of this Agreement or its agreements with other rights holders and/or artists and
                         writers, provided that any such disclosures are made subject to binding confidentiality obligations.
                         The recipient will ensure that those people and entities use the received Confidential Information
                         only to exercise rights and fulfill obligations under this Agreement, while using reasonable care to
                         keep it confidential. The recipient may also disclose Confidential Information when required by
                         law after giving reasonable notice to the discloser if allowed by law. Neither party may make any
                         public statement regarding this Agreement without the other’s written approval. Nothing in this
                         Agreement will prohibit or limit Google from disclosing certain Confidential Information to content
                         owners or licensors or for general aggregated industry purposes as Google deems reasonably
                         appropriate.

                   (e)   Covenant Not to Sue. In consideration of Google’s entering into this Agreement, effective upon
                         the Effective Date and through the end of the Term, Provider covenants and agrees, for itself and
                         its respective agents and representatives not to bring, assert, pursue, maintain, join in or directly
                         or indirectly support, assist, fund, lend resources to, or otherwise participate in any litigation,
                         throughout the Territory, involving or asserting any claim based upon or alleging any form of
                         copyright infringement arising from Google’s exploitation of the rights licensed by Provider to
                         Google in this Agreement through the operation of the Google Services, and in accordance with
                         this Agreement, that Provider has, had or may have against Google before the Effective Date or
                         during the Term. Such covenant not to sue will apply to and be binding on a third party solely to
                         the extent Provider has the legal authority to grant the covenant not to sue in this Agreement on
                         behalf of such third party without violation of any legal or contractual obligation to such party (e.g.,
                         an agreement with an artist, performer, songwriter, composer, rights collecting society, co-
                         publisher or sub-publisher). Subject to the following sentence, the foregoing covenant not to sue
                         does not include any legal claim to be asserted against any party other than Google or its
                         Affiliates, including, (i) any legal claim against any third party arising from the incorporation or use
                         of a sound recording or a musical composition in a video or failure to pay royalties or other
                         consideration due to any copyright owner for use of a sound recording or a musical composition
                         in a video; or (ii) any legal claim against any third party (including a user) arising from the
                         incorporation or use of a sound recording or a musical composition in a video (regardless of
                         whether such video is a User Video). Nonetheless, Provider covenants not to sue any user who
                         synchronizes and makes available any Provider Content in a User Video uploaded to the
                         YouTube Service, to the extent Provider’s claim is based on the alleged infringement of rights or
                         authorized uses granted by Provider to Google in this Agreement.

                   (f)   Compliance with Anti-Bribery Laws. In performing its obligations under this Agreement,
                         Provider will comply with all applicable commercial and public anti-bribery laws (“Anti-Bribery
                         Laws’), including the U.S. Foreign Corrupt Practices Act of 1977 and the UK Bribery Act of 2010,
                         which prohibit corrupt offers of anything of value, either directly or indirectly to anyone, including
                         government officials, to obtain or keep business or to secure any other improper commercial
                         advantage. Furthermore, Provider will not make any facilitation payments, which are payments to
                         induce officials to perform routine functions they are otherwise obligated to perform. “Government
                         officials” include any government employee; candidate for public office; and employee of
                         government-owned     or government-controlled    companies,   public international organizations,   and
                         political parties. Google may terminate this Agreement immediately upon written notice to
                         Provider if Google believes, in good faith, that Provider has violated or caused Google to violate
                         any Anti-Bribery Laws.

                   (g)   Miscellaneous. The words "include" and "including" do not limit the generality of any words
                         preceding them, and references to any statute or other legislative enactment include references
                         to that statute or legislative enactment as amended or re-enacted from time to time. References
                         to the “United States” include the United States, its territories and possessions, including Puerto
                         Rico. The parties are independent contractors. This Agreement does not create any agency,
                         partnership, or joint venture between the parties. This Agreement does not confer any benefits on
                         any third party (except to Google’s Affiliates, as applicable) unless it expressly states that it does.
                         Neither party will be liable for failure or delay in performance to the extent caused by


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                         circumstances beyond its reasonable control. If any term (or part of a term) of this Agreement is
                         invalid, illegal or unenforceable, the rest of this Agreement will remain in effect. Neither party will
                         be treated as having waived any rights by not exercising (or delaying the exercise of) any rights
                         under this Agreement. Any amendment must be in writing, signed by both parties, and expressly
                         state that it is amending this Agreement. This Agreement states all terms agreed between the
                         parties and supersedes all other agreements between the parties relating to its subject matter. In
                         entering into this Agreement neither party has relied on, and neither party will have any right or
                         remedy based on, any statement, representation or warranty (whether made negligently or
                         innocently), except those expressly stated in this Agreement. This Agreement will be construed
                         as if jointly drafted by the parties. ALL CLAIMS ARISING OUT OF OR RELATING TO THIS
                         AGREEMENT WILL BE GOVERNED BY CALIFORNIA LAW, EXCLUDING CALIFORNIA'S
                         CONFLICT OF LAWS RULES, AND WILL BE LITIGATED EXCLUSIVELY IN THE FEDERAL OR
                         STATE COURTS OF SANTA CLARA COUNTY, CALIFORNIA, USA; THE PARTIES CONSENT
                         TO PERSONAL JURISDICTION IN THOSE COURTS. The metadata provided by Provider to
                         Google via the Metadata Feed and all exhibits and attachments to this Agreement are considered
                         part of, and incorporated by reference into, this Agreement. The parties may execute this
                         Agreement in counterparts, including facsimile, PDF, and other electronic copies, which taken
                         together will constitute one instrument. The following sections will survive any expiration or
                         termination of this Agreement: 7, 8, 9, 10, 11(b), 11(c), 12(b), 12(d), 12(g), and any other sections
                         that under their terms or by implication should survive.

               This Agreement has been duly executed by the parties as of the latest date indicated below.

               Google LLC                                            [FULL LEGAL NAME OF PROVIDER]

                BY:                                                    BY:

                NAME:                                                  NAME:

                TITLE:                                                 TITLE:

                DATE:                                                  DATE:


               Google Ireland Limited                                Google Commerce       Limited

                BY:                                                    BY:

                NAME:                                                  NAME:

                TITLE:                                                 TITLE:

                DATE:                                                  DATE:




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                                                                  EXHIBIT A
                                                                 DEFINITIONS

               “Affiliate” means any entity that directly or indirectly controls or is controlled by, or is under common
               control with, a party.

               “Alternative Tier” has the meaning stated in Exhibit B, Section 6.

               “Anti-Bribery Laws” has the meaning stated in Section 12(f).

               “Art Track” means a musical sound recording that is played back to a user with accompanying pictorial
               material (which may include lyrics) that is, in each case, designated by the applicable licensor (or by
               Google on such licensor’s behalf) using tools, including auto-generation tools, provided by Google.

               “Audio-Only Track” means a musical sound recording that is made into a Conditional Download by or
               played back to a user without an accompanying video.

               “AVOD Service” means the free-to-the consumer portion of the YouTube Service, which excludes the
               Subscription Offerings, YouTube TV (or any successor product/brand for such product), or any other paid
               offerings on YouTube, existing now or at any point in the future.

               “Block has the meaning stated in the CIMA.

               “Bona   Fide Artist Issue” means     a bona fide loss or lack of artist consent that causes    Provider to withhold
               any Provider Content from the AVOD       Service and/or the Subscription Offerings.

               “Brand Features” means the names, logos, trademarks, designs and trade names of a party.

               “Bundle Percentage” means a percentage equal to the dollar value of the applicable Subscription
               Offering in the applicable Subscription Bundle (as reasonably determined by Google) divided by the
               regular retail price of the applicable Subscription Offering in the applicable country in the Territory (or, at
               Google’s option, the Major Rate).

               “CIMA’ means the Content Identification and Management Agreement entered into by the parties.

               “Conditional Download” means a user's receipt of a digital transmission that results in a specifically
               identifiable, tethered (but obfuscated) reproduction of such digital file that is available to such user for
               offline playback on the applicable device for up to thirty-one (31) consecutive days (as such time period
               may be renewed periodically), which transmission may originate either directly from the YouTube Service
               or from another device (subject to any restrictions and limitations applicable under this Agreement).

               “Confidential Information” means information that one party or an Affiliate of such party discloses to the
               other party in connection with this Agreement, and that is marked as confidential or would normally be
               considered confidential information under the circumstances. It does not include information that the
               recipient already knew, that becomes public through no fault of the recipient, that is independently
               developed by the recipient, or that is rightfully given to the recipient by a third party without confidentiality
               obligations.

               “Effective Date” has the meaning stated in the preamble.

               “Entire Catalog” means the full catalog of sound recordings and music videos owned, controlled, or
               distributed by Provider, if applicable, its Affiliates, and, if applicable, its and their distributed labels
               (including any catalogs acquired by Provider, its Affiliates, or its and their distributed labels during the
               Term, and all music videos produced      by or on behalf of Provider, its Affiliates, or its and their distributed
               labels during the Term).


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               “Expired Reference Overlap” means a Reference File that the System recognizes as containing one or
               more segments of one or more reference files provided by one or more other partners that expires in the
               System prior to Provider taking action to either “exclude overlap” associated with or “assert exclusive
               rights” to such segment(s) of such Reference File via the System.

               “Family Account” has the meaning stated in Exhibit B, Section 12(b).

               “Free Trial” has the meaning stated in Exhibit B, Section 12(a).

               “Google Play Agreements” means the agreements then-currently in effect between the parties
               applicable to the Google Play subscription service, the Google Play store, the Google Play locker, and the
               Google Play radio service.

               “Google Services” means Google websites, applications, products and services, including the YouTube
               Service.

               “Google Specs” means Google’s then-current delivery specifications available at https://goo.gl/qRPSEQ,
               which Google may update (in whole or in part) throughout the Term.

               “ID File” has the meaning stated in the CIMA.

               “Indemnified Liabilities’ means any and all losses, damages, expenses, costs or settlement amounts,
               including reasonable outside attorneys’ fees.

               “Initial Term” has the meaning stated in Section 11 (a).

               “Legal Issue” means an actual legal or contractual issue that restricts Provider’s rights to grant rights to
               Google (i.e. loss of rights to a third party, lack of rights from a distributed label, or an actual legal claim;
               each of which is separate from a Bona Fide Artist Issue) and that causes Provider to withhold any
               Provider Content from the AVOD Service and/or the Subscription Offerings.

               “Limited Exclusives” means one-off, limited-time, occasional exclusivity windows and holdbacks with
               respect to individual sound recordings, in each case, with a single third-party partner.

               “Major Rate” means a rate, for a certain royalty calculation, that is at least as favorable as Google pays to
               at least one of the “major” record labels (i.e., Universal Music Group, Sony Music Entertainment and/or
               Warner Music Group).

               “Metadata Feed” means the feed and/or other method described in the Google Specs through which
               Provider provides to Google data associated with Provider Non-Music Content, Provider Sound
               Recordings,   Provider Music Videos,      Provider Audio-Only Tracks,    Provider Art Tracks,   including text,
               images, and closed captioning.

               “Monetize” has the meaning stated in the CIMA.

               “Music Licensors” means Google’s content licensors who license music content to Google under (a) a
               sound recording or audiovisual license agreement (or equivalent agreement), (b) a publishing license
               agreement, including with a collective rights management organization, or (c) any other agreement (e.g.,
               a standard content license agreement), but solely with respect to music content licensed under such other
               agreement.

               “Music Share” means, with       respect   to each accounting period under this Agreement, an amount equal to
               a fraction, the numerator of   which is    the number of On-Demand Streams and plays of Conditional
               Downloads with a minimum       duration     of thirty (80) seconds (or, at Google’s option, watchtime) of all Music
               Videos, Audio-Only Tracks,     and Art    Tracks provided by, licensed by or claimed by Music Licensors


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               (including Provider), including as embodied in User Videos, in the Subscription Offering in the Territory
               during such period, and the denominator of which is the number of On-Demand Streams and plays of
               Conditional Downloads with a minimum duration of thirty (30) seconds (or, at Google’s option, watchtime)
               of all content (including Provider Content) available via the Subscription Offering in the Territory during
               such period.

               “Music Videos” means all music videos delivered to Google by or on behalf of Music Licensors, or
               claimed by Music Licensors as a music video asset.

               “Nearly Complete Video” has the meaning stated in the definition of Premium UGC.

               “Net Ad Revenues” means, with respect to each accounting period under this Agreement, any revenues
               recognized under the U.S. Generally Accepted Accounting Principles by Google from ads displayed or
               streamed on the Playback Pages or in the embedded YouTube video player containing Provider Content
               in the Territory during such period. Net Ad Revenues specifically exclude any e-commerce and referral
               fees received by Google from “upsells”. Net Ad Revenues do not include (a) any funds from ads that are
               rejected by Google because they violate Google’s general ad policies and terms and conditions, (b) Net
               Subscription Revenues, or (c) any other Google subscription service revenue.

               “Net Subscription Revenues” means, for each Subscription Offering, with respect to each accounting
               period under this Agreement, revenues recognized under the U.S. Generally Accepted Accounting
               Principles by Google from any fees charged by Google to users for access to such Subscription Offering,
               including those received for bundled offers (pro-rated to reflect the portion of the bundled offer applicable
               to such Subscription Offering) in the Territory during such period. Net Subscription Revenues specifically
               exclude any e-commerce and referral fees received by Google from any “upsells”. Net Subscription
               Revenues do not include Net Ad Revenues or any other Google subscription service revenue.

               “Non-Single” means any Provider Sound Recording that has not been released as a Provider Music
               Video or as a Single.

               “On-Demand     Stream” means a     digital transmission of a digital file upon request, at a time chosen by the
               user.

               “Percentage Rate” means at Google's election on a country-by-country basis (a) the percentage rate
               applicable to a particular type of Provider Content in a particular portion of the YouTube Service as stated
               in Exhibit C or (b) the Major Rate for the applicable country.

               “Per Sub Minimum” means, for each accounting period under this Agreement, at Google's election on a
               country-by-country basis, solely for the countries listed on Exhibit D (a) the applicable rate, if any listed in
               Exhibit D or otherwise listed in this Agreement (e.g., with respect to Family Plans) or (b) the Major Rate
               for the applicable country.

               “Performing Right” means the right commonly referred to as the public performance right (in the United
               States), the performing right, or the making available right.

               “Pillar” has the meaning stated in the preamble of Exhibit C.

               “Pillar Review’ has the meaning stated in the preamble of Exhibit C.

               “Playback Pages” means a page or pages on the YouTube Service dedicated to a video or Audio-Only
               Track identified as containing Provider Content on which users can view or listen to such Provider
               Content and view other information relating to such Provider Content.

               “Policy” has the meaning stated in the CIMA.




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               “Premium UGC” means a User Video for which (a) the artist name, album name or song title is included
               in the user-provided metadata, (b) at least ninety percent (90%) of a Provider Music Video (a "Nearly
               Complete Video") is included, and (c) at least ninety percent (90%) of the User Video consists of such
               Nearly Complete Video.

               “Product” means a Provider Music Video, a Single,      a Non-Single, or an album or other collection of
               sound recordings.

               “Promoter Account” means an account used by a person who works for or on behalf of an OEM or
               music rightsholder, or an influencer, to demonstrate, promote, influence or encourage use of a
               Subscription Offering.

               “Provider Art Track” means an Art Track of a complete Provider Sound Recording.

               “Provider Audio-Only Track” means an Audio-Only Track consisting of a Provider Sound Recording.

               “Provider Channel” means a page of the YouTube Service that is dedicated to the Provider Videos, and
               whose look and feel is largely controlled by Provider subject to the YouTube Service templates.

               “Provider Content” means, collectively, the Provider Non-Music Content, Provider Sound Recordings,
               the Provider Music Videos, Provider Audio-Only Tracks, Provider Art Tracks, the Metadata Feed, and all
               other data and information contained within, or provided or otherwise made available to Google by
               Provider in association with the provision of, such content, including text, images, artwork, cover art, other
               artist images, closed captioning, metadata, any other associated materials and any copies that Google
               makes of any or all of the foregoing in connection with this Agreement.

               “Provider Music Videos’ means all music videos delivered to Google by or on behalf of Provider, or
               claimed by Provider as a music video asset. Provider Music Videos specifically exclude Provider Non-
               Music Content.

               “Provider Non-Music Content” means all videos that are delivered to Google by Provider, that do not
               constitute Provider Music Videos.

               “Provider Share” means, with respect to each accounting period under this Agreement, an amount equal
               to a fraction, the numerator of which   is the number of On-Demand   Streams and plays of Conditional
               Downloads with a minimum duration of thirty (30) seconds (or, at Google’s option, watchtime) of claimed
               Provider Music Videos, Provider Audio-Only Tracks, and Provider Art Tracks, including as embodied in
               User Videos (in each case, solely to the extent Google exploits the rights to the applicable content as
               granted to it by Provider under this Agreement) in a Subscription Offering in the Territory during such
               period and the denominator of which is the number of On-Demand Streams and plays of Conditional
               Downloads with a minimum duration of thirty (30) seconds (or, at Google’s option, watchtime) of all Music
               Videos, Audio-Only Tracks, and Art Tracks provided by, licensed by or claimed by Music Licensors
               (including Provider), including as embodied in User Videos, in such Subscription Offering in the Territory
               during such period.

               “Provider Song UGC” means a User Video for which (a) the artist name, album name or song title is
               included in the metadata; (b) the vast majority (as determined by Google) of a Provider Sound Recording
               is included; and (c) the vast majority (as determined by Google) of the User Video is comprised of one or
               more musical sound recordings.

               “Provider Sound Recordings” means (a) sound recordings delivered to Google by Provider in digital
               form in connection with this Agreement, (b) all sound recordings embedded within User Videos on Google
               Services which match ID Files corresponding to such sound recordings using the System, and (c) all
               sound recordings owned or controlled by Provider, which are embedded within User Videos that Provider
               “claims” using the System. For clarity, sound recordings embodied in Provider Videos are deemed to be
               part of the Provider Video, not a Provider Sound Recording.


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               “Provider Videos” means, collectively Provider Non-Music Content and Provider Music Videos.

               “Reference Files” has the meaning stated in the CIMA.

               “Renewal Term” has the meaning stated in Section 11 (a).

               “Royalties” has the meaning stated in Section 6(a).

               “Similar Free Service” means any other free-to-the-user digital distribution partner or platform (or, in the
               case of partners and platform who have multiple tiers, the free-to-the-user tier of such partner or
               platform).

               “Single” means an emphasis track in the country of the Territory concerned that Provider uses to drive
               awareness, including so-called “lead singles” or “stand-out tracks” but excluding tracks that are solely
               promoted to editorial outlets or tastemakers. A recording is deemed released as a Single on the date
               when Provider begins to promote the sound recording concerned, including at radio (i.e., the so-called
               “add” date at terrestrial radio).

               “Subscription Bundle” has the meaning stated in Exhibit B, Section 9.

               “Subscription Offerings” means one or more subscription services that are part of the YouTube Service
               that permit users to access, stream, and (if Google enables such functionality) create Conditional
               Downloads, and get additional features on, all or a subset of content on the YouTube Service for which a
               fee is paid (or a Free Trial is activated) by or on behalf of a user, which includes Provider Content for
               which Google utilizes rights granted under this Agreement. Certain content may only be available within
               one or more Subscription Offerings. Any paid services in which users pay a distinct fee in exchange for
               access to specific content or bundles of content (e.g., rentals, purchases, paid channels, live pay-per-
               view, and YouTube TV) are not Subscription Offerings under this Agreement, even if Google makes
               available Provider Content from the AVOD Service (i.¢., without premium subscription features available
               on such Provider Content) or, for users of a Subscription Offering, Provider Content from such
               Subscription Offering (i.e., with premium subscription features available on such Provider Content solely
               to such users) for playback within the same user interface as such paid-for services. Each Subscription
               Offering may be branded with one or more Google brands or trade names.

               “System” has the meaning stated in the CIMA.

               “Term” has the meaning stated in Section 11(a).

               “Territory” means the world unless otherwise designated by Provider in the Metadata Feed, Google-
               provided interface to the Metadata Feed, or the System with respect to each item of Provider Content.

               “Third-Party App Store” means a third-party “app store” such as Apple Inc.'s “App Store”.

               “Third-Party Legal Proceeding” means any legal proceeding filed by a third party before a court or
               government tribunal (including any civil, administrative, investigative or appellate proceeding).

               “Track” has the meaning stated in the CIMA.

               “User Video” means any video submitted to or streamed via the YouTube Service by a user.

               “User Video with Audiovisual Excerpt” means a User Video on the YouTube Service which (a) the
               System matches to an audiovisual portion of a Provider Music Video, or (b) contains audiovisual Provider
               Music Video content embedded within User Videos that Provider “claims” using the System, each of
               which do not constitute Premium UGC.



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               “User Video with Provider Content Visual Excerpt” means a User Video on the YouTube Service
               which (a) the System matches to a visual portion of a Provider Music Video (but not the accompanying
               audio), or (b) contains visual only Provider Music Video content embedded within User Videos that
               Provider “claims” using the System.

               “User Video with Provider Sound Recording” means a User Video on the YouTube Service that
               includes a Provider Sound Recording.

               “YouTube Service” means the Google service known as YouTube located at http://www. youtube.com,
               including all mirror and/or derivative sites and all replacement, successor and/or international versions
               thereof, including the YouTube video player and YouTube websites, applications (e.g., YouTube Main
               app, YouTube Music app), APIs, embeds, products and services, and any of the foregoing that are made
               available for syndication.




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                                                               EXHIBIT B
                                                            PAYMENT TERMS

               1.   AVOD Service Royalties. With respect to Google’s exploitation of the rights granted to it by Provider
                    under this Agreement for the AVOD Service, Google will pay to Provider the applicable AVOD
                    Service Percentage Rate of Net Ad Revenues in the Territory that are attributable to On-Demand
                    Streams and Conditional Download playbacks of Provider claimed: Provider Art Tracks, Provider
                    Audio-Only Tracks, Provider Music Videos, Provider Non-Music Content, Premium UGC (which will
                    be treated as Provider Music Videos for the purposes of the Percentage Rate and all reporting), User
                    Videos with Audiovisual Excerpts, User Videos with Provider Content Visual Excerpts, User Videos
                    with Provider Sound Recordings, and User Videos with Provider Non-Music Content all solely to the
                    extent Google exploits the rights to the applicable content as granted to it by Provider under this
                    Agreement for the AVOD Service in the Territory. No amounts will be payable under this Agreement
                    for playbacks in audio-only/background mode of User Videos with Provider Content Visual Excerpts
                    or User Videos with Provider Non-Music Content.

               2.   Subscription Offering Royalties. With respect to Google’s exploitation of the rights granted to it by
                    Provider under this Agreement for each Subscription Offering in which Provider Content is included,
                    for each accounting period under this Agreement, Google will pay to Provider with respect to such
                    Subscription Offering, the greater of:

                    (a) the applicable Per Sub Minimum multiplied by the number of users of the Subscription Offering in
                        the applicable countries in the Territory who subscribe to such Subscription Offering during such
                        accounting period, excluding Free Trial users and users of any other Google subscription service,
                        further multiplied by the applicable Provider Share; or

                    (b) the applicable Subscription Offering Percentage Rate of Net Subscription Revenues that are
                        attributable to such Subscription Offering multiplied by the applicable Provider Share and further
                        multiplied by the Music Share.

               3.   Advertising in Subscription Offerings. If any Subscription Offering contains advertisements, then
                    (a) royalties arising from the serving of any ads within any Subscription Offering (if applicable) will
                    also be calculated and paid in accordance with Section 1 of this Exhibit B; and (b) Provider’s share of
                    advertising revenue from such Subscription Offering will be added to Provider’s share of Net
                    Subscription Revenues for such Subscription Offering when determining the applicability of the Per
                    Sub Minimum for such Subscription Offering.

               4.   Calculations. Google may, in its discretion, choose to: (a) calculate Provider Share for a Subscription
                    Offering on a per-user basis instead of across the entire Subscription Offering; and/or (b) include On-
                    Demand Streams and plays of Conditional Downloads that meet a different minimum duration (i.e. a
                    minimum duration other than thirty (30) seconds), or no minimum duration, as reasonably determined
                    by Google in the calculation of the Music Share and/or Provider Share, provided that Google applies
                    the same durational threshold to similarly situated music licensors in any country of the Territory;
                    and/or (c) adjust the manner in which Google pro-rates the Music Share and/or the Provider Share
                    (e.g., remove a content type from the calculation), provided that Google applies the same proration to
                    similarly situated recorded music licensors in any country of the Territory. Google will also have the
                    right to amortize any pre-payments (e.g., for annual subscriptions) across the time period for which
                    the pre-payment applies. Further, for purposes of calculating payments for a Subscription Offering,
                    Google will have the right to calculate subscribers for such Subscription Offering for a particular
                    calendar month by either (y) looking at the number of subscribers to such Subscription Offering at a
                    defined point of time in such calendar month (e.g., at the end of such month) and users who may
                    have been subscribers during such month but are not subscribers at such defined point in such
                    month will not constitute subscribers for such month, or (z) adding the number of subscribers on each
                    day of such calendar month and dividing that sum by the number of days in such calendar month.
                    Plays of excerpts of Provider Content (e.g., as short-form interstitials, bumpers and previews) will be



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                    royalty-free and will not count as On-Demand Streams or plays of Conditional Downloads in the
                    calculation of Provider Share or Music Share.

               5.   Multiple Claimants to User Videos. With respect to User Videos, Google will have the right to
                    apportion payment to each claiming owner or administrator (including a user) of the exploited rights in
                    such User Video on a pro-rata basis either across all claims on such video or across claims for those
                    portions of the video actually viewed by a user, as determined by Google.

               6.   Alternative Tiers. Google may offer additional features and/or tiers of service, such as a lossless or
                    HD tier of service, or other programs (each an “Alternative Tier”). If Google launches an Alternative
                    Tier, Provider authorizes the inclusion of Provider Content in such Alternative Tier provided that
                    Google will pay Provider the Major Rate for such Alternative Tier.

               7.   Per Sub Minimums. The Per Sub Minimums in Exhibit D are for monthly subscribers, and may be
                    pro-rated by Google for shorter subscription periods. The Per Sub Minimums may be reduced as
                    permitted in this Agreement for bundles and will be deemed waived in the case of a Free Trial. With
                    respect to any ad-supported Subscription Offering, the applicable Per Sub Minimums will be reduced
                    by                                If Google launches a Subscription Offering for which Provider is not
                    required to comply with the content commitment under Section 3(b) of this Agreement, then no Per
                    Sub Minimum will apply to such Subscription Offering. Google will be entitled to a discount on the Per
                    Sub Minimum that is equal to the percentage of revenue attributable to fees payable to platform,
                    device or other distribution partners in connection with Subscription Offering transactions, including
                    any carriage or (subject to Section 8 of this Exhibit B) in-app commission fees. Google will be
                    permitted to give users whose payment methods cease working a grace period during which the user
                    can continue to access the applicable Subscription Offering, to permit the user a time period to enter
                    a new payment method and continue to have uninterrupted access to the Subscription Offering (and
                    no Per Sub Minimum will be due for up to seventy-two (72) hours of the grace period). When such
                    new payment method is entered, it will be charged for such user's continued access to such
                    Subscription Offering retroactive to the date of the last successful payment.

               8.   App Store Payment. For in-app commission fees: (a) if Google elects to charge a higher retail price
                    for subscriptions sold through Third-Party App Stores, as compared to the retail price for the same
                    subscriptions sold other than through Third-Party App Stores, then the amount of the difference in the
                    applicable retail prices (up to a maximum of [                      of the higher retail price) will not be
                    taken into account when determining and calculating the Net Subscription Revenue with respect to
                    such subscriptions sold through a Third-Party App Store; and (b) if Google does not elect to increase
                    the retail price as set forth in subsection (a) above, then Google will be entitled to a discount on the
                    Per Sub Minimum that is equal to the percentage of revenue actually paid to or withheld by the
                    applicable partner in connection with Subscription Offering transactions, up to a maximum discount of
                                       of the Per Sub Minimum.

               9.   Bundling. Google will have the right to bundle Subscription Offerings with other products and
                    services (“Subscription Bundles”). With respect to Subscription Bundles, Google will have the right
                    to lower the Per Sub Minimum (if any) by multiplying the applicable Per Sub Minimum in Exhibit D by
                    the Bundle Percentage. No revenue will be attributable to the Subscription Offering portion of a
                    Subscription Bundle during a Free Trial. Google may bundle the AVOD Service in its absolute
                    discretion and no additional revenues will be due to Provider under this Agreement with respect to
                    such bundles (e.g., if the AVOD Service (or portions thereof) are made available via a paid
                    application or website).

               10. Payment Variation. If it is not technically feasible for Google to pay Provider as stated in this
                   Agreement (e.g., different rates by territory or type of content, or calculating pro ratas as stated in this
                   Agreement), Google may elect to overpay Provider temporarily. Google reserves the right to reclaim




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                   any overpaid amounts. If the Territory includes multiple countries, Google may calculate the
                   payments above by country in the Territory.

               11. Users Who Subscribe to Multiple Subscriptions. If any Provider Content is available in more than
                   one Subscription Offering and a user subscribes to more than one Subscription Offering, Google will
                   calculate Provider's payment for the applicable Provider Content in a Subscription Offering based on
                   the Subscription Offering(s) with the highest ranking as determined by Google. Google will rank
                   Subscription Offerings based on the Subscription Offerings with the highest amount of revenues as of
                   the date on which such determination is made. Google may recalculate such rankings based on
                   factors such as, by way of example only, adding or removing Subscription Offerings or if there is a
                   significant change in the composition of any Subscription Offerings. In no event will Google be
                   required to attribute views of Provider Content to more than one Subscription Offering by a user who
                   subscribes to more than one Subscription Offering.

               12. Free Trials and Promotional Plans. The following discounts to the Per Sub Minimum will apply:

                   (a)   Free Trials. Google and its Affiliates may offer on a royalty-free basis to prospective subscribers
                         free or nominally priced (e.g., $1.00 per month) trials of each Subscription Offering, whether
                         directly or in connection with third-party promotional partners, such as device manufacturers or
                         wireless carriers (“Free Trials”).

                   (b)   Family Accounts. Google may offer family subscription accounts for Subscription Offerings
                         (each, a “Family Account”) as follows. Each Family Account may be shared by up to six people,
                         consisting of one “Master Account Holder” (the user who pays for the Family Account) and up to
                         five “Sub-Account Holders”. The Per Sub Minimum for a Family Account will bel
                                              of the otherwise applicable Per Sub Minimum and, there will be no separate
                         Per Sub Minimum for each Master Account Holder and Sub-Account Holder under such Family
                         Account. The free trial period, if any, for each Sub-Account Holder will be determined   by (i.e., will
                         be the same as) the Master Account Holder's free trial period. Except as expressly stated in this
                         Agreement, each Sub-Account Holder will be treated as a “subscriber” for the purposes of this
                         Agreement, and all terms of this Agreement will apply equally and separately to each such
                         subscriber. Each Family Account will be permitted a number of concurrent streams not to exceed
                         six concurrent streams per Family Account.

                   (c)   Annual and Semi-Annual Plans. Google may offer discounted plans, in which a subscriber pays
                         a discounted price for a full year of access or for six (6) months of access to a particular
                         Subscription Offering. In such cases, the applicable Per Sub Minimum will be discounted by an
                         amount equal to the corresponding discount given on the then applicable standard retail price for
                         a full year or six (6) months of access, up to a maximum discount to the applicable Per Sub
                         Minimum of            or a full year subscription and       or a six (6) month subscription.

                   (d) Student Plans. Google may offer discounted student plans, in which student subscribers pay a
                       discounted price for access to a particular Subscription Offering. In such cases, the applicable
                       Per Sub Minimum will also be discounted by an amount equal to the corresponding discount to
                       the standard retail price of the Subscription Offering, subject to a maximum discount of


                   (e)   Demo Accounts. Provider agrees to waive any applicable Per Sub Minimums for demos, internal
                         testing and Promoter Accounts (up to a cap of 15,000 active Promoter Accounts at any one time).

                   (f)   Winback Offers. Notwithstanding anything to the contrary in this Agreement, Google may offer
                         discounted "winback trials for lapsed paid subscribers who previously subscribed for over six (6)
                         months, and, in such cases, the applicable Per Sub Minimum will be discounted by an amount




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                         equal to the corresponding discount to the standard retail price of the Subscription Offering,
                         subject to a maximum discount of f                   for up to six (6) months.

                   (g)   Device-Specific Offers. Google may offer discounted subscriptions for subscribers who
                         subscribe to a subscription for a single Google assistant-enabled device primarily enabled for
                         home use (for clarity, excluding mobile phones, e.g., a single device Google Home subscription).
                         In such cases, the applicable Per Sub Minimum will be discounted by an amount equal to the
                         corresponding discount to the standard retail price of the Subscription Offering, subject to a
                          maximum discount of




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                                                                   EXHIBIT C
                                                    PILLARS AND     PERCENTAGE        RATES

               Each April 1st and October 1st of the Term that occurs at least one (1) month following the Effective Date，
               with respect to each of the Provider operational level requirements stated below (each, a “Pillar” and
               collectively, the “Pillars”), Google will determine Provider’s then-current tier status (i.e. whether Provider
               is Tier A, Tier B or Tier C status) based on which of the following tier criteria have been met (each review,
               a “Pillar Review’). Provider's tier status for each Pillar will determine the applicable Percentage Rates, as
               described later in this Exhibit C.

               1.   Catalog Commitment.

                       (a) Tier A Status. At all times during the prior six (6) month period, Provider made available (and
                           set to Monetize) the Entire Catalog (or the Entire Catalog, except for the permitted Tier A
                           content exceptions described in 1(a)(i), (ii), and/or (iii) below) on the AVOD Service and the
                           Subscription Offerings and each Provider Sound Recording and Provider Music Video will be
                           made available no later than the date and time that such Provider Sound Recording and
                           Provider Music Video (including in each format) was first made available on any tier of any
                           digital distribution partner or platform in the applicable country.

                       Permitted Tier      A Content Exceptions

                                 ()    Bona Fide Artist Issues and/or Limited Exclusives. During the prior twelve (12)
                                       months, no more than three (3) Products from the AVOD Service and/or any
                                       Subscription Offering for Bona Fide Artist Issues and/or as Limited Exclusives
                                       (except, for clarity, any windowing in accordance with Section 1(a)(ii) below).

                                (ii)   Two-week Window for Provider Sound Recordings in the AVOD Service. Solely from
                                       the AVOD Service, some or all Provider Art Tracks and Provider Song UGC of newly-
                                       released Provider Sound Recordings for no more than a continuous two (2)-week
                                       window starting on the date the applicable Provider Sound Recording was first made
                                       generally available for sale to the public (and Provider also blocked such windowed
                                       Provider Sound Recordings from all other Similar Free Services for the same time
                                       period and in the same territory as they were blocked in the AVOD Service).

                               (iii)   Legal Issue. Provider Content affected by a Legal Issue (but not a Bona Fide Artist
                                       Issue) in accordance with 3(b)(ii)(A).

                       (b) Tier B Status. At all times during the prior six (6) month period, Provider made available (and
                           set to Monetize) the Entire Catalog, except for permitted Tier B content exceptions described
                           in 1(b)(i), (ii), (iii), and/or (iv) below, on the AVOD Service and the Subscription Offerings and
                           each Provider Sound Recording and Provider Music Video will be made available no later
                           than the date and time that such Provider Sound Recording and Provider Music Video
                           {including in each format) was first made available on any tier of any digital distribution
                           partner or platform in the applicable country.

                       Permitted Tier      B Content Exceptions

                                 (i)   Bona Fide Artist Issues and/or Limited Exclusives. During the prior twelve (12)
                                       months, four (4) or five (5) Products from the AVOD Service and/or any Subscription
                                       Offering for Bona Fide Artist Issues and/or as Limited Exclusives (except, for clarity,
                                       any windowing in accordance with Sections 1(b)(ii) and 1(b)(iii) below).

                                (ii)   Two-week Window for Singles in the AVOD Service. Solely from the AVOD Service,
                                       some or all Provider Art Tracks and Provider Song UGC of newly-released Singles
                                       for no more than a continuous two (2)-week window starting on the date the
                                       applicable Provider Sound Recording was first made generally available for sale to


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                                          the public (and Provider also blocked such windowed Singles from all other Similar
                                          Free Services forthe same time period and in the same territory as they were
                                          blocked in the AVOD Service, and Provider also communicated to Google in the
                                          Metadata Feed the newly released tracks that Provider deemed “Singles” (for clarity,
                                          such information does not limit Google’s ability to deem a track as a “Single” if it
                                          otherwise meets the definition of a “Single’)).

                                  (iii)   Indefinite Window for Non-Singles in the AVOD Service. Solely from the AVOD
                                          Service, some or all Provider Art Tracks and Provider Song UGC of newly-released
                                          Non-Singles starting on the date the applicable Provider Sound Recording was first
                                          made generally available for sale to the public (Provider blocked from all other Similar
                                          Free Services such windowed Non-Singles for the same time period and in the same
                                          territory as they are blocked in the AVOD Service).

                                 (iv)     Legal Issue. Provider Content affected by a Legal Issue (but not a Bona Fide Artist
                                          Issue) in accordance with 3(b)(ii)(A).

                        (c)   Tier C Status. Provider adhered to the catalog commitment in Section 3(b) of this Agreement
                              without meeting Tier A or Tier B status.

               2.   Content Delivery.

                        (a) Tier A and Tier B Status.

                                    (i)   If Provider has delivered ten thousand (10,000) or more Provider Sound Recordings
                                          prior to the then-current Pillar Review, all deliveries of Provider Content in the prior
                                          six (6) month period were in accordance with the Google Specs using DDEX as the
                                          metadata specification and either SFTP or Aspera as the file transfer method.

                                   (ii)   If Provider     has delivered fewer than ten thousand (10,000) Provider Sound
                                          Recordings        prior to the then-current Pillar Review, all deliveries of Provider Content
                                          in the prior    six (6) month period were in accordance with the Google Specs using
                                          either CSV       or DDEX as the metadata specification and SFTP, Aspera, or CMS as the
                                          file transfer     method.

                        (b) Tier C Status. Provider delivered content to Google but did not adhere to the Tier A/B
                            requirements in 2(a) above during the prior six (6) month period.

               3.   Content ID.

                        (a) Tier A and Tier B Status. Provider adhered to each of (i), (ii), and (iii) below:

                                    (i)   The average monthly percentage of Provider claims made via the System during the
                                          prior six (6) month period as a result of Reference Files which do not comply with
                                          Google’s then-current Content ID eligibility criteria available at https://goo.gl/YXRvVc
                                          was less than two percent (2%) of all Provider claims made via the System during the
                                          prior six (6) month period;

                                   (ii)   During the prior (6) month period:

                                               A.   Provider had less than one (1) Expired Reference Overlap per ten (10) new
                                                    Reference Files delivered by Provider; or

                                               B.   Provider had a total of less than fifteen (15) Expired Referenced Overlaps;
                                                    and

                                  (iii)   Partner Strikes.



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                                             A.          The percentage of partner strikes (Provider may view its partner strikes in the
                                                         “Partner Strikes” section of the System or at
                                                         http://youtube.com/partner_strikes) that do not have a current appeal or
                                                         external legal proceeding pending (only those Partner Strikes for which
                                                         Provider delivers to Google proof of such appeal or legal proceeding will be
                                                         removed from the calculation) was less than one-tenth of one percent (0.1%)
                                                         of public Provider Videos uploaded by Provider during the prior six (6) month
                                                         period; or

                                             B.          The total number of Partner Strikes that do not have a current appeal or
                                                         external legal case pending (only those Partner Strikes for which Provider
                                                         delivers to Google proof of such appeal or legal proceeding will be removed
                                                         from the calculation) was less than three (3).

                       (b) Tier C Status. Provider did not adhere to one of more of the Tier A/B requirements in 3(a)
                           above.

               4.   YouTube Certification.

                       (a) Tier A and Tier B Status. As of the date of the then-current Pillar Review, Provider is in
                           adherence with all of the following:

                                (i)   Throughout the prior six (6) month period Provider had an average of at least two (2)
                                      YouTube certifications from the YouTube certification programs (e.g., Content
                                      Ownership, Asset Monetization,              Channel   Growth) per Provider CMS   login; and

                               (ii)   Provider is certified in all then-current YouTube certification programs.

                       (b) Tier C Status. Provider did not adhere to one of more of the Tier A/B requirements in 4(a)
                           above.

               5.   Product Activation.

                       (a) Tier A and Tier B Status. Provider used commercially reasonable efforts to adhere with all
                           of the following:

                                (i)   As of the date of the then-current Pillar Review, Provider has withheld less than ten
                                      percent (10%) of Provider Channels from upgrade to so-called “Official Artist
                                      Channel”.

                               (ii)   On average during each calendar month, there was activity on each such “Official
                                      Artist Channel’, which means at least one of the following occurred per channel:

                                                         Provider Video uploaded and made public;
                                          ITQOMMOOWDYS




                                                         Livestream;
                                                         Reels posted;
                                                         Playlist created;
                                                         Comment   on own channel;
                                                         Comment on other channel:
                                                         Community post; or
                                                         Any other product activity feature that Google makes available to Provider.

                       (b) Tier C Status. Provider did not adhere to one of more of the Tier A/B requirements in 5(a)
                           above.

               Until such time of the first Pillar Review, Provider will receive the Tier C AVOD Service Percentage Rates.
               If, at the time of a given Pillar Review, the period of time between the Effective Date and the date of such
               Pillar Review is less than the assessment period listed above (i.e. less than six (6) or twelve (12) months,

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               as applicable), Google will determine Provider’s then-current tier status based on the period between the
               Effective Date and the date of such Pillar Review. If, at the time of the then-current Pillar Review, Provider
               meets Tier A Status for all of the Pillars, then Providers AVOD Service Percentage Rates until the next
               Pillar Review (or, if applicable, the end of the Term) will be the Tier A AVOD Service Percentage Rates
               listed below. If, at the time of the then-current Pillar Review, Provider meets Tier B Status for all of the
               Pillars (but does not meet Tier A Status for the Content Commitment        Pillar), then Provider's AVOD
               Service Percentage Rates until the next Pillar Review (or, if applicable, the end of the Term) will be the
               Tier B AVOD Service Percentage Rates listed below. If, at the time of the then-current Pillar Review,
               Provider meets Tier C Status (but does not meet Tier A nor Tier B Status) for one or more of the Pillars
               then Provider's AVOD      Service Percentage   Rates until the next Pillar Review (or, if applicable, the end of
               the Term) will be the Tier   C AVOD Service Percentage Rates listed below.



                                                      AVOD    Service Percentage Rates




                 Provider Art Tracks

                 Provider Music Videos


                 (and User Video      with Provider Non-Music Content)

                 User Video with Audiovisual Excerpt

                 UserVideo with Provider Content Visual Excerpt

                 User Video with Provider Sound Recording
                 (and AVOD Service background mode enabled
                 Provider Audio-Only Tracks)




                                     Subscription Offerings Percentage Rate (Tier A, Tier B, and Tier C)




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                                                             EXHIBIT D
                                                         PER SUB MINIMUM

                                                     Per Sub                                           Per Sub
                          Country      Currency   | Minimum                      Country   Currency | Minimum
                Andorra                  EUR                              Lithuania          EUR
                Argentina                ARS                              Luxembourg         EUR
                Australia                AUD                              Macedonia          USD
                Austria                  EUR                              Malaysia           MYR
                Belarus                  USD                              Malta              EUR
                Belgium                  EUR                              Mexico             MXN
                Bolivia                  BOB                              Montenegro         EUR
                Bosnia and
                Herzegovina              USD                              Netherlands        EUR
                Brazil                   BRL                              New Zealand        NZD
                Bulgaria                 BGN                              Nicaragua          USD
                Canada                   CAD                              Norway             NOK
                Chile                    CLP                              Panama             USD
                Colombia                 COP                              Paraguay           USD
                Costa Rica               CRC                              Peru               PEN
                Croatia                  HRK                              Philippines        PHP
                Cyprus                   EUR                              Poland             PLN
                Czech Republic           CZK                              Portugal           EUR
                Denmark                  DKK                              Romania            RON
                Dominican Republic       USD                              Russia             RUB
                Ecuador                  USD                              San Marino         EUR
                El Salvador              USD                              Serbia             EUR
                Estonia                  EUR                              Singapore          SGD
                Finland                  EUR                              Slovakia           EUR
                France                   EUR                              Slovenia           EUR
                Germany                  EUR                              South Africa       ZAR
                Greece                   EUR                              South Korea        KRW
                Guatemala                USD                              Spain              EUR
                Honduras                 USD                              Sweden             SEK
                Hong Kong                HKD                              Switzerland        CHF
                Hungary                  HUF                              Taiwan            TWD
                Iceland                  EUR                              Thailand           USD


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                India                    INR                     Turkey          TRY
                Indonesia                IDR                     Ukraine         UAH
                                                                 United
                Ireland                  EUR                     Kingdom         GBP
                Israel                    ILS                    United States   USD
                Italy                    EUR                     Uruguay         USD
                                                                 Vatican City    EUR
                Japan                    JPY                     Venezuela       USD
                Latvia                   EUR                     Vietnam         USD
                Liechtenstein            CHF                     Rest of World   n/a




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                                   Addendum to Sound Recording and Audiovisual Content License



               Reference is made to the Sound Recording and Audiovisual Content License between Google and
               Provider being entered into simultaneously with this addendum (the“SRAV ). Google and Provider also
               wish to document the additional terms agreed herein in connection with Google’s distribution of Provider
               Sound Recordings via a new audio-only tier of the YouTube Service (as described in greater detail
               below). This addendum to the SRAV (this “Addendum’) will form part of the SRAV along with the terms
               stated in the SRAV as of the Effective Date. Capitalized terms used but not defined in this Addendum will
               have the meanings assigned to such terms in the SRAV.

               In consideration of the mutual covenants and agreements set forth in this Addendum, Google and Provider
               agree to the following additional terms, effective as of the Effective Date:


                1.   Additional         As used    in this Addendum,   the following terms will have the meanings        as stated
                     Definitions        below:

                                                  “Audio-Only Plays” means Shuffle Plays and On-Demand          Plays.

                                                  “On-Demand Play” means a single playback by a user of a Provider Sound
                                                  Recording via the Audio-Only Service and not via the AVOD Service and/or
                                                  Subscription Offerings, that does not conform with the Shuffle Plays Usage
                                                  Rules defined below.

                                                  “Shuffle Play” means a single playback by a user of a Provider            Sound
                                                  Recording via the Audio-Only Service and not via the AVOD Service         and/or
                                                  Subscription Offerings, that conforms with the Shuffle Plays Usage         Rules
                                                  defined below. For clarity, playback of a Provider Sound Recording as      a part
                                                  of the playback of a playlist and/or station via the Audio-Only Service   will be
                                                  deemed a Shuffle Play.


                2.   Audio-Only         “Audio-Only Service” means a separate free-to-the-user, audio-only portion of the
                     Service            YouTube Service, which (i) may or may not be supported by advertising and (ii)
                                        allows users to playback sound recordings via On-Demand Plays and/or Shuffle
                                        Plays. The Audio-Only Service is separate and distinct from the AVOD Service,
                                        Subscription Offerings, YouTube TV (or any successor product/brand for such
                                        product), and any other free or paid offerings on YouTube, existing now or at any
                                        point in the future, but may be offered with the AVOD Service or other such free or
                                        paid offerings. Google may decide, from time to time (in its sole discretion) whether
                                        to make the Audio-Only Service, or a portion thereof, available.


                3.   Audio-Only      Shuffle Plays Usage Rules
                     Content Usage | Google will enforce the usage rules below in respect of the Shuffle Plays:
                     Rules                1. auser may select a single song, album, artist, genre or playlist to generate
                                             a station algorithmically based on content similar to such selected song,
                                             album, artist, genre or playlist. Notwithstanding the foregoing, a user-
                                             selected song will not play as the first track of the station;
                                         2. a user may select playlists that are created by Google or a third party to
                                             playback in a randomized order, but will not have the ability to play (whether
                                             randomized or in order) a playlist of songs, albums or listening history


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                                              created in the AVOD Service by such user (though notwithstanding the
                                              foregoing, Google may include a user’s listening history from the Audio-Only
                                              Service in the AVOD Service and Subscription Offerings);
                                           3. auser will not have the ability to skip backwards or have the ability to restart
                                              the current Provider Sound Recording from the beginning, but will have the
                                              ability to skip no more than six (6) forward skips via a particular station or
                                               playlist per sixty (60) minutes;
                                           4. auser will have the ability to stream no more than four (4) Sound
                                               Recordings by the same featured artist (or from an individual compilation
                                              album) via a particular station or playlist within a three (3) hour period;
                                           5. auser will have the ability to stream no more than three (3) sound
                                               Recordings from the same featured artist aloum via a particular station or
                                               playlist within a three (3) hour period (and no more than two (2) of those
                                              sound recordings may be streamed consecutively);
                                           6. auser will not have the ability to create Conditional Downloads or permanent
                                              downloads of any Provider Sound Recording from the Audio-Only Service;
                                              and
                                           7. Google may from time to time present upsell prompts to a Subscription
                                              Offering or other interruptions to users of the Audio-Only Service.
                                       On-Demand Plays Usage Rules
                                       Google will enforce the usage rules below in respect of the On-Demand Plays:
                                           1. a user will have the ability to stream Provider Sound Recordings via
                                              additional functionality as and when such additional functionality (if any) is
                                               provided by Google (e.g. a user may select a particular sound recording for
                                               playback);
                                           2. auser will not have the ability to create Conditional Downloads or permanent
                                              downloads of any Provider Sound Recording from the Audio-Only Service;
                                              and
                                           3. Google may from time to time present upsell prompts to a Subscription
                                              Offering or other interruptions to users of the Audio-Only Service.

                4.   Royalties         Section 1 and Section 2 of Exhibit B to the SRAV will not apply with respect to the
                                       Audio-Only Service.

                                       Google will pay to Provider the following royalties for Audio-Only Plays and the
                                       defined term "Royalties" includes such royalties for Audio-Only Plays:

                                           1.    with respect to Shuffle Plays in the United States, for each accounting
                                                 period during the Term during which Google makes Shuffle Plays via th
                                                 Audio-Only Service, Google will pay|


                                           2.    with respect to On-Demand Plays throughout the Territory and Shuffle
                                                 Plays in the Territory excluding the United States, for each accounting
                                                 period during the Term during which Google makes Audio-Only Plays
                                                 available, Google will pay to Provider, calculated on a country-by-country
                                                 basis, the greater of:




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                                                         (i)   Provider's Audio Share of        of Net Audio Ad Revenues
                                                               (defined below) for the applicable country during the applicable
                                                               accounting period, and

                                                        (ii)   the applicable Audio Per Play Minimum multiplied by the
                                                               number of Shuffle Plays and On-Demand Plays in the
                                                               applicable country during the applicable accounting period,

                                                 (such greater amount together with the                          is referred to
                                                 in the Addendum as the “Audio Royalties’).

                                       As used   in this Addendum:

                                       Provider's “Audio Share” means, in a given country in a given month, an amount
                                       equal to a fraction, the numerator of which is the number of Audio-Only Plays in
                                       such country in such month and the denominator of which is the total number of
                                       audio-only plays of musical sound recordings via the Audio-Only Service in such
                                       country in such month.

                                       The “Audio Per Play Minimum” means, on a country by country basis for the
                                       initial countries stated below, the following amounts with respect to Shuffle Plays
                                       and On-Demand Plays respectively:

                                       For Shuffle Plays:


                                           1.    CA:                            CAD
                                           2.    UK:                            GBP
                                           3.    JP:                            JPY
                                           4.    AU:                            AUD
                                           5.    FR:                            EUR
                                           6. DE:                               EUR
                                           7. NL:                               EUR
                                           8. IT:                               EUR
                                           9. ES:                               EUR
                                           10. MX:                              MXN
                                           11. IN:                              INR
                                           12. SE:                              SEK
                                           13.DK:                               DKK
                                           14.NO:                               NOK
                                           15. AT:                              EUR
                                           16. IE:                              EUR
                                           17.NZ:                               NZD
                                           18.MY:                               MYR
                                           19. TW:                              TWD
                                           20. FI:                              EUR
                                           21.BR:                               BRL
                                           22. CH:                              EUR
                                           23. BE:                              EUR
                                           24. PT:                              EUR
                                           25.HK:                               HKD
                                           26. TH:                              THB
                                           27.AR:                               ARS


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                                             28. UA:    |                       UYU
                                             29.CO:     |                       COP
                                             30.CL:     |                       CLP
                                             31.PE:     |                       PEN
                                             32.LU:     |                       EUR

                                         For any additional countries in the Territory Google will pay to Provider the Major
                                         Rate as the Audio Per Play Minimum for Shuffle Plays in each such additional
                                         country.

                                         For On-Demand      Plays:

                                         For On-Demand Plays, Google will pay to Provider the Major Rate as the Audio
                                         Per Play Minimum for On-Demand Plays for the country concerned in the Territory.

                                         Google may in its discretion, choose to include only those plays of Provider Sound
                                         Recordings and audio recordings in the Audio-Only Service that meet a minimum
                                         duration of thirty (30) seconds in both the numerator and the denominator (as
                                         applicable) of the calculation of Provider's Audio Share, provided that Google
                                         applies the same minimum duration to all similarly situated sound recording music
                                         licensors.

                                         Simultaneous streams of Provider Sound Recordings via the Audio-Only Service to
                                         grouped devices will be counted as a single stream per sound recording for
                                         purposes of reporting and calculating Audio Royalties.

                                         “Net Audio Ad Revenues” means, with respect to each accounting period of the
                                         Term, any revenues recognized under the U.S. Generally Accepted Accounting
                                         Principles by Google from advertisements streamed by or on behalf of Google
                                         during Audio-Only Playback in the Territory during such period. Net Audio Ad
                                         Revenues specifically excludes (a) any e-commerce and referral fees received by
                                         Google from “upsells” and (b) any ads upselling users to a Subscription Offering.
                                         Net Audio Ad Revenues do not include (x) any funds from ads that are rejected by
                                         Google because they violate Google’s general ad policies and terms and
                                         conditions, (y) Net Subscription Revenues, or (z) any other Google subscription
                                         service revenue.

                5.   Reporting           Google will use commercially reasonable efforts to provide Provider with usage
                                         reports in the form generally made available to then-current similarly-situated
                                         Google partners within sixty (60) days of the end of each calendar month in which
                                         Provider's earned balance is at least $100 (or its equivalent in local currency) at the
                                         time such report is due.

                6.   Reservation     of | Nothing in this Addendum will prejudice the parties’ respective positions as to (and
                     Rights               will not constitute an acknowledgement in any respect of): (a) whether or not the
                                          royalties and other financial consideration (including cash and non-cash
                                          consideration) provided hereunder are reasonable or appropriate for the Audio-
                                          Only Service described herein for any time period; or (b) the interpretation of any
                                          other provision of the Digital Millennium Copyright Act, including 17 U.S.C. § 114
                                          and § 112. The parties explicitly agree that the SRAV (including, without limitation,
                                          this Addendum) and its terms may not be introduced or relied upon in any
                                          proceeding, judicial or otherwise, for the purpose of interpreting or establishing
                                          criteria relating to the eligibility of a new subscription service making subscription
                                          digital audio transmissions not exempt under 17 U.S.C. § 114(d)(1) or a service



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                                       making eligible nonsubscription transmissions not exempt under 17 U.S.C. §
                                       114(d)(1) for a statutory license as such under 17 U.S.C. § 114 and § 112.

                7.   Termination       Either party may terminate this Addendum with thirty (30) days’ prior written notice
                                       for any breach, if such breach is not cured within the notice period.

                                       Google may terminate this Addendum: (A) immediately upon written notice to
                                       Provider if Google or its Affiliates reasonably determine that it is impracticable to
                                       continue providing all or part of the Audio-Only Service in light of applicable law; or
                                       (B) for any or no reason upon sixty (60) days’ prior written notice.




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